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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           Case No.: 18-61325-Civ-Ruiz/Seltzer

  JOEL D. LUCOFF,

        Plaintiff,

  v.

  CITIBANK, N. A.,

       Defendant.
  _________________________________________/

         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all

  matters in controversy, the parties jointly stipulate to a Dismissal with Prejudice of

  this action with each party to bear its own attorney’s fees and costs except as

  otherwise agreed by the parties.


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  By: /s/ Donald A. Yarbrough             By: /s/ Alisa M. Taormina
  Donald A. Yarbrough, Esq.               Alisa M. Taormina, Esq.
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                            Case No.: 18-61325-Civ-Ruiz/Seltzer

  JOEL D. LUCOFF,

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  _________________________________________/

                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on ______________________, I electronically filed
  the foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.


                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.
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                                   SERVICE LIST

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